USCA4 Appeal: 24-1296      Doc: 5         Filed: 08/26/2024    Pg: 1 of 2




                                             UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                               No. 24-1296


        LINDA BREJWO,

                             Plaintiff - Appellee,

                      v.

        YVONNE KINCAID,

                             Defendant - Appellant.



        Appeal from the United States District Court for the Southern District of West Virginia, at
        Charleston. John T. Copenhaver, Jr., Senior District Judge. (2:23-cv-00121)


        Submitted: August 22, 2024                                        Decided: August 26, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Dismissed by unpublished per curiam opinion.


        Yvonne Kincaid, Appellant Pro Se.


        Unpublished opinions are not binding precedent in this circuit.
USCA4 Appeal: 24-1296         Doc: 5     Filed: 08/26/2024       Pg: 2 of 2




        PER CURIAM:

               Yvonne Kincaid seeks to appeal the district court’s order remanding her case back

        to state court. We dismiss the appeal for lack of jurisdiction because the notice of appeal

        was not timely filed.

               In civil cases, parties have 30 days after the entry of the district court’s final

        judgment or order to note an appeal, Fed. R. App. P. 4(a)(1)(A), unless the district court

        extends the appeal period under Fed. R. App. P. 4(a)(5) or reopens the appeal period under

        Fed. R. App. P. 4(a)(6). “[T]he timely filing of a notice of appeal in a civil case is a

        jurisdictional requirement.” Bowles v. Russell, 551 U.S. 205, 214 (2007).

               The district court entered its order and judgment on March 5, 2024, and the appeal

        period expired on April 4, 2024. Kincaid filed the notice of appeal on April 5, 2024.

        Because Kincaid failed to file a timely notice of appeal or to obtain an extension or

        reopening of the appeal period, we dismiss the appeal.

               We dispense with oral argument because the facts and legal contentions are

        adequately presented in the materials before this court and argument would not aid the

        decisional process.

                                                                                      DISMISSED




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